
41 So.3d 410 (2010)
Paul O. ROHART, M.D., Appellant,
v.
PHOENIX EMERGENCY MEDICINE OF BROWARD, LLC, a Florida corporation, and North Broward Hospital District, d/b/a Broward General Medical Center, Appellees.
No. 4D09-2663.
District Court of Appeal of Florida, Fourth District.
August 4, 2010.
Rehearing Denied September 3, 2010.
William T. Cushing, M.D., Cary, North Carolina, for appellant.
Janine Kalagher McGuire of Conrad &amp; Scherer, LLP, Fort Lauderdale, for appellee, North Broward Hospital District, d/b/a Broward General Medical Center.
PER CURIAM.
Affirmed. See Palm Beach Cnty. Health Care Dist. v. Prof'l Med. Educ., Inc., 13 So.3d 1090 (Fla. 4th DCA 2009), rev. denied, 34 So.3d 2 (Fla.2010); Fla. Tel. Corp. v. Essig, 468 So.2d 543 (Fla. 5th DCA 1985).
GROSS, C.J., WARNER and CIKLIN, JJ., concur.
